
PER CURIAM.
The appellant was convicted of murder in the first degree without recommendation of mercy in the Circuit Court, Thirteenth Judicial Circuit, in and for Hillsborough County, Florida, and received a sentence of death. Subsequently, under the authority of Furman v. Georgia, 408 U.S. 238, 92 S.Ct. 2726, 33 L.Ed.2d 346 (1972), the Supreme Court of Florida in Anderson et al. v. State, 267 So.2d 8 (Fla.1972), reduced appellant’s sentence from death to life imprisonment. At the time the notice of appeal was filed in this cause, this Court had jurisdiction because, at such time this case was a capital case. Since our jurisdiction attached, we retained jurisdiction for all purposes. Anderson et al. v. State, supra.
In the exercise of our discretion, we have dispensed with oral argument pursuant to Rule 3.10(e), Florida Appellate Rules, 32 F.S.A.
We have examined and considered the record in this case in the light of briefs filed and have also, pursuant to Florida Appellate Rule 6.16(b), reviewed the evidence to determine if the interests of justice require a new trial, with the result that we find no reversible error is made to appear and the evidence does not reveal that the ends of justice require a new trial to be awarded.
*549Accordingly, the conviction, as previously modified by reduction of appellant’s sentence from death to life imprisonment, is hereby affirmed.
It is so ordered.
CARLTON, C. J., and ROBERTS, ERVIN, McCAIN and DEKLE, JJ., concur.
